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UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS



 ANTHONY BLOUNT,                                   §
     Plaintiff,                                    §
                                                   §
 versus                                            §      CASE NO. 1:18-CV-00406-MAC
                                                   §
                                                   §
 POPEYES LOUISIANA KITCHEN,                        §
      Defendant.                                   §



 ORDER ADOPTING REPORT AND RECOMMENDATION GRANTING PLAINTIFF’S
                       MOTION TO DISMISS

          On April 9, 2020, pro se Plaintiff Anthony Blount (“Blount”) filed a “Motion to Dismiss

Case with Prejudice.” Doc. No. 21. Blount states that he is unable to represent himself and would

like to dismiss his case. Id. On April 13, 2020, United States Magistrate Judge Zack Hawthorn

entered a report (Doc. No. 22), which recommended granting Blount’s motion to dismiss with

prejudice. Neither party filed objections to the magistrate judge’s report and recommendation and

the time for doing so has passed.

          It is, therefore, ORDERED that the magistrate judge’s report and recommendation (Doc.

No. 22) is ADOPTED. Accordingly, Blount’s “Motion to Dismiss Case with Prejudice” (Doc.

No. 21) is GRANTED and Blount’s case is DISMISSED.


          SIGNED at Beaumont, Texas, this 5th day of May, 2020.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
